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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: WILLIAM & DORIS ETHERIDGE                           CASE NO: 19-11305
        DEBTORS                                            CHAPTER 7


                      MOTION TO APPROVE COMPROMISE


       COMES NOW, William L. Fava, Attorney for the Chapter 7 Trustee (the

“Trustee”) for the Estate of the above-named debtors and files this application

pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and states

as follows:

       1.     This case commenced on March 26, 2019, when the debtors filed a

voluntary petition with the Clerk of this Court.

       2.     On February 3, 2021, the debtors filed their Schedule A/B but did not

list a pending personal injury claim (the “Claim”) in which they had already hired

legal counsel to pursue. However, the Trustee discovered this unlisted asset. Any

interest in the Claim is property of the bankruptcy estate pursuant to 11 U.S.C. §

541.

       3.     The Claim is a lawsuit filed on behalf of William Scott Etheridge,

individually and as administrator of the estate of Doris Jean Etheridge as the

injuries caused by the defendant ultimately resulted in the death of Doris Jean

Etheridge. This Court entered an Order Granting Application for Employment of

Attorneys on October 2, 2019, where the Court allowed the Trustee to retain

counsel to pursue the Claim.

       4.     Since that time the attorneys for the Trustee have been litigating this
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matter and, as a result of their efforts, an offer was made to settle the Claim for a

total of $550,000.00.

      5.     This settlement is reasonable. The ultimate distribution of funds will

be the subject of other pleadings to be filed with this Court.

      6.     This settlement will result in all claims being paid in full and a

substantial amount remaining that will be paid to the debtor.

      WHEREFORE, the undersigned requests that this Court approve the

settlement of the Claim for $550,000.00.

      RESPECTFULLY submitted, this the 1st day of April, 2022.

                                       ___/s/William L. Fava          _____
                                       WILLIAM L. FAVA (MSB# 101348)
                                       Attorney for the Chapter 7 Trustee

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                          CERTIFICATE OF SERVICE

      I, William L. Fava, Chapter 7 Trustee, do hereby certify that I have this day

mailed a true and correct copy of the above Application to Approve Compromise to

the following:

      U.S. Trustee
      Via ECF at USTPRegion05.AB.ECF@usdoj.gov

      Karen Schneller – Attorney for debtors
      Via ECF

      All parties on the attached matrix

DATED:



                                            ___/s/William L. Fava _____
                                            WILLIAM L. FAVA
                                            Attorney for the Chapter 7 Trustee


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